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VIA ECF                                                             February 28, 2022
Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, NY 10007

           RE: SEC v. Ripple Labs Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Netburn:

             Defendant Bradley Garlinghouse writes in response to the SEC’s opposition (ECF
No. 434) to Mr. Garlinghouse’s motion (ECF No. 424) seeking the disclosure of notes of a
November 9, 2018 meeting between Commissioner Roisman and Mr. Garlinghouse (the
“Estabrook Notes”).

                Virtually all of the SEC’s Opposition is spent trying to equate the Estabrook Notes
with those taken during a 2019 meeting between a third party—SBI Holdings, Inc.—and
Commissioner Peirce (the “SBI Notes”). But the SEC ignores the central reason that Mr.
Garlinghouse seeks disclosure of the Estabrook notes: they are likely to corroborate his account
of a discussion that he had with a Commissioner of the SEC regarding the regulation of digital
assets, an issue that goes to the core of the SEC’s “knowledge or recklessness” allegations against
him. The SEC is silent on this point—and notably does not dispute its intent, at trial, to seek to
undermine Mr. Garlinghouse’s credibility regarding his recollection of that meeting and others.
Compare ECF No. 434 with ECF No. 424 at 3.

                The SEC’s argument that Mr. Garlinghouse was “present at the Meeting” and
therefore knows what was said there misses the point. The only participants in the meeting were
Mr. Garlinghouse and representatives of the SEC. There is no other available evidence that could
corroborate Mr. Garlinghouse’s recollection that he took comfort from the meeting with
Commissioner Roisman. That, too, distinguishes the SBI Notes—as to which the SEC pointed to
the availability of alternative evidence, namely, SBI’s recollection of the meeting. See ECF No.
351 at 8.
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                 Nor has the SEC borne its burden of proof to show that disclosure of the Estabrook
Notes would invade the Commission’s policy-making process. The SEC broadly and loosely
claims that a purpose of the notes was to allow Mr. Estabrook to “provide advice to Commissioner
Roisman on a potential future proposal by the Commission of a rule regarding the regulation of
digital asset offerings.” ECF No. 434 at 3. But the SEC has never proposed any such rule, or even
suggested that such a rule was in contemplation, and in any event that is the same argument this
Court rejected when it required the production of other notes of meetings with third parties. ECF
No. 413 at 5-8. The only distinction is that these are notes of a meeting with Mr. Garlinghouse,
which makes them more relevant and potentially exculpatory not less, and heightens the
justification for requiring their production.

                 Finally, the SEC’s attempt to defend its sword-and-shield tactics is unconvincing.
It is plain that the SEC viewed the “memorandum-to-file” of Mr. Garlinghouse’s 2018 meeting
with Chair Clayton as helpful to its case so it produced it. 1 With the Estabrook Notes—also a
record of a contemporaneous meeting between a Commissioner and Mr. Garlinghouse—the SEC
has evidently concluded the document does not support its case and so it is withholding it. The
SEC should not be permitted to engage in such tactics.

               Mr. Garlinghouse’s motion should be granted.

                                                        Respectfully submitted,


                                                        /s/ Matthew C. Solomon

                                                        Matthew C. Solomon

                                                        /s/ Nowell D. Bamberger

                                                        Nowell D. Bamberger

                                                        Counsel for Defendant Bradley Garlinghouse


cc: All Counsel of Record (via ECF)




1
       That memorandum is in fact exculpatory insofar as it corroborates Mr. Garlinghouse’s
impression that the SEC understood the legal “purgatory” created by the lack of regulatory clarity
and encouraged him to discuss the issue with the “Division of Corporation Finance.”
